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                 FORTHE SOUTHERNDISTRICTOF GEORGIA

                              AUGUSTADIVISION                       CLER
                                                                         Sil.IJSftFG:
JAEQUANS. MALONE,

             Petitioner,

      v.                                     cv 113-099
                                             (Formerly
                                                    CR112-064)
UNITED STATES OF AMERICA.

             Respondent.


        MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


      Petitioner,an inmateat the FederalCorrectionalInstitutionin Edgefield,South

Carolina,hasfiled with this Courta motionunder28 U.S.C.g 2255to vacate,setaside,

                                                                    motionto
or correcthis sentence.This caseis now beforethe Court on Respondent's

                                                                        a motion,
dismissPetitioner'sS 2255motion. (Doc.no. 3.) Petitionerfiled in response

entitleda motion to dismiss,as well as a motionto strike. (Doc. nos. 5, 8.) For the

reasonsset forth below,the Court REPORTS and RECOMMENDS that Respondent's

motionto dismissbe GRANTED, Petitioner'smotionto dismissandmotionto strikebe

DENIED, theinstantS 2255motionbeDISMISSED,andthis civil actionbe CLOSED.

      BACKGROUND

       On February10, 2012,Petitionerwas indictedon one count of conspiracyto

commit fraud and relatedactivity in connectionwith accessdevicesin violationof 18

                       onecountof possession
U.S.C.$$ 371& 1029(b)(2),                 of access          equipment
                                                  device-making

                                   one countof possession
in violationof 18 U.S.C.S 1029(a)(4),                                 access
                                                        of unauthorized
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devicesin violation of l8 U.S.C. $ 1029(a)(3),and one count of aggravatedidentity theft

in violationof 18 U.S.C.$ 1028A(a)(1).tUnited Statesv. Malone,CR 112-064,doc.no.
                                              'oCR 112-064"). Petitioner's jury trial was
1 (S.D. Ga. Feb. I0, 2012) (hereinafter

scheduledfor June 25,2012. (Id., doc. no.43.) On June 13,2012, throughhis court

appointed counsel,Christopher Scott Connell, Petitioner filed a motion for a continuange.

(Id., doc. no. 45.) United StatesDistrict JudgeJ. RandalHall grantedthe motion, giving

Petitioner and his counsel additional time to evaluate a proposed plea agreement and

preparefor trial. (Id., doc. no.47.)

       On August 2, 2012, Petitioner pleaded guilty to one count of conspiracy in

violation of 18 U.S.C. $$ 371 & 1029(bX2),andhe agreedto forfeit property as listed in

the plea agreement. (Id., doc. nos. 54, 55.) Petitioner'swritten plea agreementincluded

a broad appealand collateral attack waiver provision that statedin relevant part:

       [T]o the maximum extent permitted by federal law, the defendant
       voluntarily and expressly waives the right to appeal the conviction and
       sentenceand the right to collaterally attack the conviction and sentencein
       any post-convictionproceeding,including a $ 2255 proceeding,on any
       ground, except that: the defendantmay file a direct appeal of his sentence
       if it exceedsthe statutory maximum; and the defendant may file a direct
       appeal of his sentenceif, by variance or upward departure,the sentenceis
       higher than the advisory sentencing guideline range as found by the
       sentencingcourt.

(Id., doc. no. 55, pp. 8-9.) In addition, by signing the plea agreement,Petitionerattested

that he had read and understood the plea agreementand that it accurately set forth the

terms and conditions of his agreementwith the government. (d. at 14.)

       During the change of plea hearing, Judge Hall reviewed the counts in the


        '
            The indictment also containeda forfeiture alleeation. Id.
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indictment.(]d., doc.no. 79, pp.4-9.) Petitionertestifiedunderoaththathe understood

what he wasbeing chargedwith, had reviewedthe indictmentwith his attorney,andhad

as much time to speakwith his attorneyabout the chargesas he wanted. (Id. at 9.)

                                                              he hadreceivedfrom his
Petitioneralsotestifiedthat he was satisfiedwith the assistance

attorney.(Id. at I l.)

        JudgeHall next explainedthe rights Petitionerwould waive by pleadingguilty,

and Petitioner affirmed he understoodthose rights. (Id. at 11-13.) Petitioner further

testified that he had read and discussedthe plea agreementwith his attorney before he

signed it, and that he understood he was agreeing that the facts contained in the

agreementwere true. (d. at 13-14.) In addition, Judge Hall reviewed the appealand

collateral attack waiver as follows:

        And I also note Mr. Malone that by signing this plea agreementthat you
        have agreedto waive or give up your right to appeal your conviction and
        sentenceboth directly and indirectly in a post-conviction proceeding on
        any ground; however, you may file a direct appeal of your sentenceif it
        exceedsthe statutory maximum. You may file a direct appeal of your
        sentence if your sentence exceeds the sentence guideline range that is
        deemed to be applicable to your case, And finally, if the Government
        should appeal your sentence,you would also have the right to file a direct
        appeal. Unless one of thesethree events occurs, then you have by signing
        this plea agreementwaived or given up your rights to appeal. Do you
        understandeverything that I havejust discussedwith you?

(d. at 15-16.) Petitioner answered,"Yes, sir." (Id. at 16.) Judge Hall then asked

Petitioner, "Is that what you agreed to?" G1!.) Again, Petitioner answered "Yes, sir."

(Id.) Petitioner also affirmed that, other than the promises the government made in the

plea agreement,no one had made him any promises in order to get him to plead guilty,

nor had he beenforced,threatened,or pressuredto do so. (Id. at 4,16.)
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       JudgeHall then statedthe statutorymaximumpenaltiesfor the crime to which

Petitionerwaspleadingguilty, which weresevenanda half yearsimprisonment,a fine of

up to $250,000,up to three years of supervisedreleaseand a $100 specialassessment.

Gd. at 16-17.) Petitioner affirmed that he understoodsuch penalties. (Id.) JudgeHall

explained the applicability and advisory nature of the United States Sentencing

Guidelines ("U.S.S.G."), att6 that a probation offtcer would prepare a Presentence

InvestigationReport (ooPSI"),
                           which JudgeHall would rely upon to determinePetitioner's

sentence. (Id. at 18-19.) In responseto a question asked by Judge Hall, Petitioner

affirmed that no one had made any promise, prediction, or prophecy that he would

receivea specificsentence.(Id. at 20.)

       Next, JudgeHall reviewed the elementsof the conspiracy charge in Count One of

the indictment and explained that the government would have to prove those elements

beyond a reasonabledoubt to obtain a conviction. (Id.) When askedby Judge Hall if he
                                                                     ooYes,sir." (Id. at
admiued that his conduct satisfied such elements,Petitioner responded

21.) Following the government'spresentationof a factual basis for the guilty plea,

Petitioner admitted the facts provided therein, including the information set forth in

Count One of the indictment. (ld. at 27.) Judge Hall asked if Petitioner still wanted to

plead guilty to Count One, to which he responded,o'Yes,sir." Gd.) Judge Hall then

asked if he was pleading guilty becausehe was, in fact, guilty of the crime charged in
                                       'oYes,sir." (Id.) Thus, JudgeHall found that
Count One, to which Petitionerresponded,

Petitioner was competent,that he fully understoodthe chargesagainst him, and that his
                                                     'oand not the result of any force,
decision to plead guilty was knowing, voluntary,



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pressure,threats,or promisesother than the promisesmadeby the Governmentin the

plea agreement."Gd. at 27-28.) Accordingly,JudgeHall found Petitionerguilty of

conspiracy.Qd.at 28.)

                   JudgeHall foundthat Petitioner'stotal offenselevel was23, which
      At sentencing,

                                                 of responsibility,and his criminal
includeda full three point reductionfor acceptance

history categorywas I, both of which findings were consistentwith the PSI, to which

neitherpartyobjected.(Id., doc.no. 76, pp.4-5.). Thesefindingsresultedin an advisory

SentencingGuidelinesrangeof 46 to 57 monthsof imprisonment,one to threeyearsof

         release,a $10,000to $100,000fine, restitutionin the amountof $7,617.35,
supervised

                        PSIflfl54, 57,6I-62,65.JudgeHall sentenced
anda $100specialassessment.                                     Petitioner

to a 48-monthterm of imprisonment,threeyearsof supervisedrelease,restitutionin the

                                           (CR 112-064,doc.nos.75, 76.)
                 and a $100specialassessment.
amountof $7,617.35,

                                        hearingthat Petitionerhadwaivedthe right to
JudgeHall alsoreiteratedat the sentencing

                                              proceeding.(Id.,doc.no. 76,p.22.)
                          in anypost-conviction
appealor attackthe sentence

       Petitionerthen timely filed the instant S 2255 motion, raising four groundsfor

relief. (Doc.no. 1.) In GroundOne,Petitionerclaimshe receivedineffectiveassistance

ofcounselat sentencing
                     because                                           the fact
                           his attorneyfailedto advisehim ofor challenge

                                            of his offenselevel basedon his co-
that he was receiving a two-point enhancement

defendant'sweapon.(Id. at 4.) In GroundTwo, Petitionerarguesthat his guilty pleawas

not knowing and voluntarybecausehe did not understandthe natureof the chargeto

which he pled guilty, and becausehis counsel,the prosecution,and JudgeHall all failed

to advisehim of the natureof suchcharge. (ld.) In GroundsThreeand Four,Petitioner
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claims that his imprisonment under 18 U,S.C. $$ 371 & 1029(b)(2) violates the

GuaranteeClause and the Tenth Amendment of the United StatesConstitution, because

those statutes are only applicable in the District of Columbia.         (Id. at 4-5, 7)

Furthermore, Petitioner arguesin Grounds Three and Four that the District Court lacked

jurisdiction to convict him, and that the two-point enhancement based on his co-

defendant'sweaponwas illegal. (ld.)

       After Respondentfiled its motion to dismiss, Petitioner filed a motion, entitled a

motion to dismiss, in which he restateshis argumentsin Grounds Two, Three, and Four

of his 5 2255 petition and again requestsrelease from incarceration. (Doc. no. 5.)

Petitioner then filed a response and motion to strike as to Respondent's motion to

dismiss, in which he again restateshis arguments in Grounds Three and Four of the $

2255 motion and requestsan evidentiaryhearing. (Doc. nos. 7, 8.) BecausePetitioner's

filings were made while he was proceedingpro se, the Court liberally construesthem as

his oppositionto Respondent'smotion to dismiss.2Respondentcontendsthat Petitioner's

g 2255 motion should be dismissed because Petitioner's claims are barred by the

collateral attack waiver set forth in the plea agreement,and by Petitioner's knowing and

voluntary guilty plea. (Doc. no. 3.)

il.    DISCUSSION

       A.      An EvidentiaryHearingis Unnecessary
                                                 in this Case.

       In regardto Petitioner'srequestfor an evidentiaryhearing,"A hearingis not


       ' SincePetitionerfiled his responses
                                          in opposition,attorneyMichaelA. Battle
was grantedleave to appearpro hac vice on behalf of Petitioner. (Doc. no. 88.)
                                                   to theinstantmotionto dismiss.
However,Mr. Battledid not file anyadditionalresponse
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required on patently frivolous claims or those which are based upon unsupported

generalizations. Nor is a hearing required where the petitioner's allegations are

affirmatively contradictedin the record." Holmes v. United States,876 F.2d 1545, 1553

(1lth Cir. 1989)(quoting omitted). An evidentiaryhearingis not requiredif "the motion

and the files and records of the caseconclusively show that the prisoner is entitled to no

relief          28 U.S.C.A. $ 2255(b). Moreover, a petitioner is not entitled to an

evidentiary hearing where he assertsonly conclusory allegations. Lynn v. United States,

365 F.3d 1225, 1238-39(llth Cir. 200Q; see also Tejadav. Dugger, 941 F.2d 1551,

1559(1lth Cir. 1991)(noting that petitioneris not entitledto an evidentiaryhearingif his

claims "are merely conclusory allegations unsupportedby specifics or contentionsthat in

the face of the record are wholly incredible"). With regard to ineffective assistance

claims, the Eleventh Circuit has recognized that an evidentiary hearing "is often required

for developmentof an adequaterecord." Vick v. United States,730 F.2d 707,708 (llth

Cir. 1984). Nonetheless,this general rule does not require the Court to hold an

evidentiary hearing every time an ineffective assistanceof counsel claim is raised. Id.

As describedin detail below, Petitioner's claims are clearly barred from review, lack

merit as a matter of law, or are otherwise affirmatively contradictedby the record. Thus,

an evidentiary hearing is unnecessaryin this case,and Petitioner's requestfor one should

be denied.

         B.     By Knowingly and Voluntarily Agreeing to the Collateral Attack
                Waiver, Petitioner Waived His Claims in Grounds One, Three, and
                tr'our of His Motion, but not his Claim in Ground Two.

         Grounds One, Three, and Four of the instant motion are precluded by the waiver
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provision in the plea agreement,in which Petitioner waived his right to collaterally attack

his conviction and sentence. It is well settled that a waiver of the right to collaterally

attack a sentenceis only enforceable if the waiver is knowing and voluntary. United

Statesv. Weaver,275 F.3d 1320, 1333(llth Cir. 2001); United Statesv. Bushert,997

F.2d 1343, 1350 (1lth Cir. 1993). "To establishthe waiver's validity, the government

must show either that (l) the district court specifically questionedthe defendantabout the

provision during the plea colloquy, or (2) it is manifestly clear from the record that the

defendantfully understoodthe significanceof the waiver." Weaver,275 F.3d at 1333. If

the governmentmeets this burden in the instant case,then Grounds One, Three, and Four

in Petitioner's $ 2255 motion are barred from review. See United Statesv. Pease,240

F.3d 938, 942 (l lth Cir. 2001) (1tercuriam) (enforcingwaiver provision where defendant

was specifically questioned during plea proceedings about waiver); United States v.

                                                                            131
Howle, 166 F.3d 1166, 1168-69(1lth Cir. 1999);United Statesv. Benitez-Zapata,

                (1lth Cir. 1997).
F.3d 1444,1146-47

       Here, Respondent has demonstrated the existence of a valid collateral attack

waiver. The plea agreement signed and verified by Petitioner fully set forth that, as a

condition of his guilty plea, he was waiving any right to collateral attack of his sentence

or the knowing and voluntary natureof his guilty plea. (SeeCR 112-064,doc. no. 55, pp.

8-9 ("[T]o the maximum extent permitted by federal law, the defendantvoluntarily and

expressly waives the right to appeal the conviction and sentence and the right to

collaterally attack the conviction and sentence in any post-conviction proceeding,

including a $ 2255 proceeding . . . .").) Furthermore, Judge Hall thoroughly went over
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Petitioner's plea agreementduring the plea colloquy, specifically reviewing the waiver

provision. (Id., doc. no,79, pp. 13-16.) After JudgeHall concludedhis review of the

plea agreement,Petitioner acknowledgedthat he understoodand agreedwith the terms of

the plea agreementas explained by Judge Hall. (Id.) Therefore, the record before the

Court shows that Judge Hall specifically questioned Petitioner about the waiver

provision, and that Petitioner fully understood its significance such that the collateral

attackwaiver was knowing and voluntary. Weaver,275 F.3d at 1333. While Petitioner

would have the Court ignore his responses to Judge Hall's questions, "solemn

declarationsin open court [at a guilty plea hearing] cany a strong presumption of verity"

and "constitute a formidable barrier in any subsequent collateral proceedings."

Blackledgev. Allison,43l U.S. 63,74 (1977).

       Certain ineffective assistanceof counsel claims can survive a valid collateral

attack waiver, but "only when the claimed assistancedirectly affected the validity of that

waiver or the plea itself." Williams v. United States,396 F.3d 1340,1342 n.2 (llth Cir.

2005) (quoting United Statesv. White, 307 F.3d 506, 508-09 (5th Cir.2002)). Here, in

Ground One, Petitioner claims his counsel failed to advise him of or challenge the fact

that he was receiving a two-point enhancementbasedon a weapon in possessionof his

co-defendant.Thus, Ground One challengesassistanceprovided at sentencingand is not

relatedto the validity of Petitioner'swaiver or plea. SeeWilliams, 396 F.3d at 1342n.2.

       To the extent Petitioner claims his counsel provided ineffective assistancein

Grounds Three and Four, such claims are also barred. In Grounds Three and Four,

Petitioner primarily argues that the statutes under which he was convicted are



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unconstitutional as applied to him, and that a two-point enhancementat sentencingwas

illegal. However, Petitioner also assertsin conclusory fashion that his entire prosecution

was a conspiracy and a sham, and that his attorney failed to provide a defense. (See doc.

no. 1, pp. 4-5,7.)    Nonetheless,these allegations,even if interpreted as ineffective

assistance of counsel claims, do not call into question the knowing and voluntary

characterof Petitioner's plea or the validity of the waiver provision therein. Because

Petitioner'sclaims in GroundsOne, Three,and Four do not call into questionthe validity

of his guilty plea or the collateral attack waiver, they are barred by the collateral attack

waiver. See Williams, 396 F.3d at 1342 n.2. Indeed, as discussedbelow, Petitioner's

guilty plea was both knowing and voluntary. Therefore, Respondent'smotion to dismiss

should be granted as to Grounds One, Three, and Four of the S 2255 motion, and

Petitioner'smotion to dismissand motion to strike shouldbe denied.

       C.      Petitioner's Guilty PIea Was Knowing and Voluntary.

       The only claim that could survive the collateral attack waiver is Ground Two, in

which Petitioner challenges the validity of his guilty plea itself, alleging it was not

knowing and voluntary because he did not understand the charge to which he was

pleading, and becausehis counsel,the prosecution,and Judge Hall all failed to advise

him of the natureof the suchcharge. (Doc. no. l, p. 4.)

               1.      Standard for Enforceability of Guilfy Pleas.

       Once a guilty plea becomes final, unless the record demonstrates that the

sentencing court lacked the power to enter the conviction or impose the sentence,a

petitioner may only challengethe knowing, voluntary nature of the plea. United Statesv.



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Broce, 488 U.S. 563, 574 (1989). In conducting its analysis,the Court startswith the

proposition that a trial court may not accept a guilty plea without an affirmative showing

on the record that the plea was intelligent and voluntary. Boykin v. Alabama, 395 U.S.

238, 242-43 (1969). The Eleventh Circuit has describedthe requirementsfor a valid

guilty plea as follows:

       'oTheFourteenth Amendment Due ProcessClause requires that a plea of
       guilty be knowingly and voluntarily entered becauseit involves a waiver
       of a number of the defendant's constitutional rights." A plea of guilty
       "cannot support a judgment of guilt unless it was voluntary in a
       constitutional sense." Aside from the obvious involuntarinessof a coerced
       plea, the Supreme Court has identified two other ways that a defendant's
       guilty plea may be involuntary in a constitutional sense:

               A plea may be involuntary either becausethe accuseddoes
               not understandthe nature of the constitutional protections
               that he is waiving, or becausehe has such an incomplete
               understandingofthe chargethat his plea cannot stand as an
               intelligent admission of guilt. Without adequatenotice of
               the nature of the chargeagainsthim, or proof that he in fact
               understoodthe charge,the plea cannot be voluntary in this
               latter sense.

       As the Supreme Court has plainly instructed, the voluntariness
       requirement is not satisfied unlessthe defendantreceivesreal notice of the
       true nature of the charged crime: "Clearly the plea could not be voluntary
       in the sensethat it constituted an intelligent admission that he committed
       the offenseunlessthe defendantreceived'real notice of the true natureof
       the charge against him, the first and most universally recognized
       requirementof due process."'

United Statesv. Brown, 117 F.3d 471,476 (llth Cir. 1997) (internal citations omitted).

The Eleventh Circuit has further explained that, for a guilty plea to be made knowingly
                                                                                      'core
and voluntarily, the court acceptingthe guilty plea must "specifically addressthree

principles,' ensuring that a defendant(l) enters his guilty plea free from coercion, (2)

                                                                     ofhis plea."
understandsthe natureofthe charges,and (3) understandsthe consequences


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United Statesv. Moriarty, 429 F.3d 1012, l0l9 (1 lth Cir. 2005) (1tercuriam) (quotation

omitted). In addition, "a defendant who seeksreversal of his conviction after a guilty

plea . . . must show a reasonableprobability that, but for the error, he would not have

enteredthe plea." Id. at 1020 (quoting United Statesv. Dominsuez Benitez, 542 U .5. 74 ,

83 (2004)).

                    2.       Petitioner's Claim in Ground Two is Without Merit.

          Here, the extensiveplea colloquy conductedby JudgeHall addresseseach of the

              oocoreprinciples." Moriarty, 429 F.3d at 1019. Judge Hall informed
aforementioned

Petitioner in clear terms of the charge to which he was pleading guilty, as well as the

maximum penalties that might be imposed in the event of Petitioner's conviction, and

Petitionertestified that he understoodthe chargeand the maximum penalties. (CR 112-

064, doc. no. 79, pp. 4-9, 16-17,20-2I.) Petitioneralso testifiedthat his conductwould

satisff the elementsof the crime to which he was pleading guilty, and he admitted to the

facts stated in the government's factual basis and the indictment. (]d at 21,21.) Judge

Hall also provided a detailed explanation of the rights Petitioner would forfeit by

pleading guilty, and Petitioner affirmed he understoodhis decision to plead guilty would

result in a waiver of theserights. (Id. at 11-16.) Petitionertestifiedthat no one had made

him any promises to get him to plead guilty, nor had anyone forced, threatened, or

pressuredhim to do so. (Id. at 4, 16,20.) Thus, Judge Hall's thorough plea colloquy

ensuredthat Petitioner understoodboth the nature ofthe charge and the consequencesof

his guilty plea, and that Petitioner was not coerced into pleading guilty. See Moriarty,

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        As such, Petitioner's arguments that he did not understand the charge being

brought against him, and that no one advised him as to the nature of such charge, are
                                                                       oosolemn
contradicted by his own testimony at the plea hearing. As noted above,

declarationsin open court [at a guilty plea hearing] carry a strong presumption of verity"

and "constitute a formidable barrier in any subsequent collateral proceedings."

Blackledge,431 U.S. at74; see also United Statesv. Stitzer,785 F.2d 1506, l5l4 n.4

(llth   Cir. 1986) ("[I]f the Rule 11 plea-taking procedureis careful and detailed, the

defendantwill not later be heard to contend that he swore falsely.") Judge Hall clearly

advised Petitioner as to the nature of the charge to which he was pleading guilty, and

Petitioner testified that he understoodthe nature of such charge and its elements. Thus,

given his former sworn testimony, Petitioner cannot now claim that he was not advisedas

to the nature of the charge or that his plea was invalid. Accordingly, the Court finds that

the record is clear as to the knowing and voluntary entry of Petitioner's guilty plea, and

that Ground Two of Petitioner's motion is therefore barred.

                3.     Petitioner's Purported Jurisdictional Challenge Also Fails.

         A voluntary, unconditional guilty plea, such as Petitioner's, waives all non-

jurisdictional challengesto the underlying conviction. United Statesv. Patti, 337 F.3d

I3l7 , 1320 (1 1th Cir. 2003); seealso Wilson v. United States,962 F.2d 996, 997 (lTth

Cir. 1992) (ytercuriam). Here, Petitioner statesin conclusoryfashion that 18 U.S.C. $

371 does not apply in Georgia, but instead only applies in the District of Columbia.

(Doc. no. 1, pp. 5, 7.) However, Petitionerprovides no support for this assertion,nor

does the statutecontain any geographicallimitation to its applicability. See28 U.S.C. $



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371. Petitioneralso claims the Court lackedjurisdiction under $ 371 becausehe did not

commit the offense conduct as statedtherein, directly contradicting his sworn testimony

at the guilty plea hearing. SeesupraPartIl.C.2. However,this argumentdoesnot raisea

jurisdictional claim and is thus baned by the valid guilty plea. Id. In sum, Petitioner's

purported challenge of the Court's jurisdiction to convict him is conclusory and without

merit, and Petitioner merely seeksthereby to avoid the consequencesof his guilty plea.

Therefore, Petitioner's attempt to cast his argument as jurisdictional in nature fails, and

his motion is barred as statedabove. See supraParts II.B & C.

III.   CONCLUSION

       In sum, Grounds One, Three, and Four of Petitioner's 5 2255 motion are

foreclosed by the collateral attack waiver contained in Petitioner's written plea

agreement, and Ground Two is without merit because Petitioner's guilty plea was

knowing and voluntary. Accordingly, the Court REPORTS and RECOMMENDS that

Respondent'smotion to dismiss be GRANTED (doc. no. 3), Petitioner's motion to

dismiss and motion to strike be DENIED (doc. nos. 5, 8), the instant 5 2255 motion be

DISMISSED. and that this civil actionbe CLOSED.

       SO REPORTED and RECOMMENDED this ffO*                                 , 2014,at
                                                                    of January

Augusta,Georgia.




                                             LINITED STATESMAGISTRATEJUDGE




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